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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  TIMOTHY KING, et al.,

                  Plaintiffs,
  v.                                               Case No. 20-13134
                                                   Honorable Linda V. Parker
  GRETCHEN WHITMER, et al.,

                Defendants,

  and

  CITY OF DETROIT,
  DEMOCRATIC NATIONAL
  COMMITTEE and MICHIGAN
  DEMOCRATIC PARTY, and
  ROBERT DAVIS,

            Intervenor-Defendants.
  _____________________________/

 OPINION & ORDER DENYING INTERVENOR-DEFENDANT ROBERT
      DAVIS’ EMERGENCY MOTION TO STRIKE (ECF NO. 97)

        This matter is currently before the Court on Intervenor-Defendant Robert

Davis’ Emergency Motion to Strike Notice of Voluntary Dismissal. (ECF No. 97.)

        On November 29, 2020, Plaintiffs filed a First Amended Complaint,

“Emergency Motion for Declaratory, Emergency, and Permanent Injunctive Relief

and Memorandum in Support Thereof,” and Emergency Motion to Seal. The

Court subsequently granted Four individuals or entities leave to intervene in the

action as Defendants, including Davis. Defendants and the Intervenor-Defendants
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then responded to Plaintiffs’ emergency motion for injunctive relief. Only

Intervenor-Defendant Davis filed an Answer to Plaintiffs’ Complaint. This Court

subsequently denied Plaintiffs’ motion for injunctive relief. On Thursday, January

14, 2021, while Plaintiffs’ appeal of that decision was pending, they filed

“Notices” voluntarily dismissing Defendants and the Intervenor-Defendants.

Because Intervenor-Defendant Davis answered the Complaint; however, dismissal

may be accomplished as to him only by motion. See Fed. R. Civ. P. 41.

      Plaintiffs’ filing in fact is titled as a motion. (See ECF No. 97.) However,

Plaintiffs’ counsel selected the wrong activity and misidentified the document

when filing it on the Court’s electronic filing system. Davis’ counsel alerted

Plaintiffs’ counsel to the error via email on Monday January 18 (ECF No. 97-1 at

Pg ID 4165); however, Plaintiffs’ counsel did not take any action to correct the

error until January 21 (see ECF No. 98).1 In the interim, unsatisfied by this delay,

Davis filed the pending Emergency Motion to Strike the Notice of Voluntary

Dismissal on January 20. (ECF No. 97.) In the motion, Davis asserts that “[t]he

Court should sanction Plaintiffs’ counsel for refusing to correct the error that was

promptly brought to her attention by Intervening Defendant Robert Davis’

counsel.” (Id. at Pg ID 4163.)



1
 January 18 was the Martin Luther King, Jr. holiday and the courthouse was
closed.
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      The Court declines to strike Plaintiffs’ filing due to the error by Plaintiffs’

counsel, as the document is correctly and clearly identified as a motion, there is no

indication that counsel intended to mislead the Court or the remaining parties, and

there is no indication that the error prejudiced any opposing party. While Rule 4 of

the Eastern District of Michigan Electronic Filing Policies and Procedures permits

sanctions for “repeated filing errors or other instances of non-compliance with

the[] Policies and Procedures,” see

http://www.mied.uscourts.gov/PDFFIles/policies_procedures.pdf, the Court does

not believe that the two filing errors by Plaintiffs’ counsel thus far warrant such

action. (See ECF No. 76 at Pg ID 3611.)

      Accordingly,

      IT IS ORDERED that Intervenor-Defendant Robert Davis’ Emergency

Motion to Strike Plaintiffs’ Notice of Voluntary Dismissal (ECF No. 97) is

DENIED.

      IT IS SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE

 Dated: January 25, 2021




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